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 13

 14   Attorneys for The Roman Catholic Archbishop of
      San Francisco
 15
                               UNITED STATES BANKRUPTCY COURT
 16
                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 17

 18   In re                                            Case No. 23-30564

 19   THE ROMAN CATHOLIC ARCHBISHOP                    Chapter 11
      OF SAN FRANCISCO,
 20                                                    Date:        April 4, 2024
                    Debtor and                         Time:        1:30 p.m.
 21                 Debtor in Possession.              Location:    Via ZoomGov
                                                       Judge:       Hon. Dennis Montali
 22

 23
       OMNIBUS NOTICE OF HEARING ON DEBTOR IN POSSESSION’S MOTIONS FOR:
 24

 25        1.    FIRST INTERIM APPLICATION OF FELDERSTEIN FITZGERALD
      WILLOUGHBY PASCUZZI & RIOS LLP FOR ALLOWANCE OF FEES AND
 26   REIMBURSEMENT OF EXPENSES AS BANKRUPTCY COUNSEL FOR THE DEBTOR
      IN POSSESSION
 27
          2.  FIRST INTERIM APPLICATION OF SHEPPARD MULLIN RICHTER &
 28   HAMPTON LLP FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND

                                                                                   Case No. 23-30564
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                                                   -1-                REGARDING 1ST INTERIM FEE APPS
  1   REIMBURSEMENT OF EXPENSES FOR THE PERIOD OF AUGUST 21, 2023,
      THROUGH JANUARY 31, 2024
  2
          3.    FIRST INTERIM APPLICATION OF WEINTRAUB TOBIN CHEDIAK
  3   COLEMAN GRODIN LAW CORPORATION FOR ALLOWANCE OF FEES AND
      REIMBURSEMENT OF EXPENSES AS SPECIAL LITIGATION COUNSEL FOR THE
  4   DEBTOR IN POSSESSION

  5        4.  FIRST INTERIM APPLICATION OF WEINSTEIN & NUMBERS, LLP
      FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES AS SPECIAL
  6   INSURANCE COUNSEL FOR THE DEBTOR IN POSSESSION

  7        5.   FIRST INTERIM APPLICATION OF GLASSRATNER ADVISORY &
      CAPITAL GROUP, LLC d/b/a B. RILEY ADVISORY SERVICES FOR ALLOWANCE
  8   OF FEES AND REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR FOR
      THE DEBTOR
  9
          6.   FIRST INTERIM APPLICATION OF OMNI AGENT SOLUTIONS, INC.
 10   FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES AS
      ADMINISTRATIVE AGENT FOR THE DEBTOR IN POSSESSION
 11
             NOTICE IS HEREBY GIVEN that The Roman Catholic Archbishop of San Francisco,
 12
      debtor and debtor in possession herein (“Debtor”), has filed the above-referenced six interim
 13
      applications for allowance of fees and reimbursement of expenses. These six applications
 14
      (hereafter referred to collectively as the “First Interim Fee Applications”) seek entry of orders
 15
      allowing fees and reimbursement of expenses described below pursuant to 11 U.S.C. §§ 330 and
 16
      331, and Fed. R. Bankr. Proc. 2016.
 17
             NOTICE IS HEREBY GIVEN that the hearing on the First Interim Fee Applications is
 18
      scheduled before the Honorable Dennis Montali on April 4, 2024, at 1:30 p.m. at the United States
 19
      Bankruptcy Court, Northern District of California, San Francisco Division, before the Honorable
 20
      Dennis Montali (the “Hearing”). The Hearing will not be conducted in the presiding judge’s
 21
      courtroom but instead will be conducted by videoconference via ZoomGov. The Bankruptcy
 22
      Court’s website provides information regarding how to arrange an appearance at a video or
 23
      telephonic hearing. If you have questions about how to participate in a video or telephonic hearing,
 24
      you may contact the court by calling 888-821-7606 or by using the Live Chat feature on the
 25
      Bankruptcy    Court’s    website.      The   link   to   the   judge’s   electronic   calendar   is:
 26
      https://www.canb.uscourts.gov/judge/montali/calendar.
 27
             NOTICE IS FURTHER GIVEN that this notice does not contain all the particulars of
 28
      the First Interim Fee Applications or supporting documents, nor does it summarize all of the
                                                                                      Case No. 23-30564
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  1   evidence submitted in support. For further specifics concerning the Motion and the relief

  2   requested, you are encouraged to review the First Interim Fee Applications and the supporting

  3   evidence, including the supporting Declarations, copies of which may be obtained from the

  4   website to be maintained by the Debtor’s Claims Agent Omni Agent Solutions, Inc., at

  5   https://www.omniagentsolutions.com/RCASF. You may also access these documents from the

  6   Court’s Pacer system (requires a subscription). The web page address for the United States

  7   Bankruptcy Court for the Northern District of California is http://www.canb.uscourts.gov.

  8          NOTICE IS FURTHER GIVEN that any opposition or response to the First Interim Fee

  9   Applications must be in writing, filed with the Bankruptcy Court, and served on the counsel for

 10   the Debtor at the above-referenced addresses so as to be received by March 21, 2024. Any

 11   opposition or response must be filed and served on the Limited Service List as provided in the

 12   Final Order Granting Motion to Establish Notice Procedures and to File Confidential

 13   Information Under Seal at ECF No. 227. The updated Limited Service List may be obtained from

 14   the Omni website listed above. Failure to file timely opposition and appear at the Hearing may

 15   constitute a waiver of your objections.

 16          Your rights may be affected. You should read these papers carefully and discuss them

 17   with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you

 18   may wish to consult one.

 19          The First Interim Fee Applications are supported by the previously filed Declaration of

 20   Joseph J. Passarello in Support of Chapter 11 Petition and First Day Motions filed on August 21,

 21   2023, at ECF 14 (“Passarello Background Decl.”), and the Declaration of Paul E. Gaspari in

 22   Support of Chapter 11 Petition and First Day Motions filed on August 21, 2023 at ECF 15

 23   (“Gaspari Decl.”).and the additional declarations in support of each Application as described

 24   below. As described in the First Interim Fee Applications, the Debtor has made substantial progress

 25   in establishing the foundations for operating in chapter 11 and establishing a process for a global

 26   mediation to provide a framework for a chapter 11 Plan of Reorganization. The First Interim Fee

 27   Applications are described below, filed and served herewith. The titles of each of the First Interim

 28   Fee Applications are followed by a summary description of the relief requested in each First Interim

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                                                      -3-                REGARDING 1ST INTERIM FEE APPS
  1   Fee Application are set forth below.

  2         I.         FIRST INTERIM APPLICATION OF FELDERSTEIN FITZGERALD
                       WILLOUGHBY PASCUZZI & RIOS LLP FOR ALLOWANCE OF FEES
  3                    AND REIMBURSEMENT OF EXPENSES AS BANKRUPTCY COUNSEL
                       FOR THE DEBTOR IN POSSESSION
  4

  5              Felderstein Fitzgerald Willoughby Pascuzzi & Rios LLP (hereinafter “FFWPR”), co-

  6   bankruptcy counsel for the Debtor, submits its application (the “FFWPR Application”) for first

  7   interim allowance of fees and reimbursement of expenses for the period of August 21, 2023 (the

  8   “Petition Date”), through and including January 31, 2024 (the “Application Period”) as set forth in

  9   the Request for Relief below. In support of the FFWPR Application, FFWPR relies on the

 10   Declaration of Paul J. Pascuzzi filed in support of the FFWPR Application, the Declaration of Fr.

 11   Patrick Summerhays and the pleadings and papers on file in this case, and on such other evidence

 12   and argument as may be submitted before or during the Hearing.

 13              Through the FFWPR Application, FFWPR requests an Order:

 14              1.    Approving on an interim basis FFWPR’s fees in the amount of $311,527.00 and

 15   reimbursement of expenses in the amount of $3,323.39 for a total of $314,850.39 incurred during

 16   the Application Period, and

 17              2.    Authorizing payment to FFWPR by the Debtor of the unpaid balance of the allowed

 18   fees and expenses after application of any retainer.

 19        II.         FIRST INTERIM APPLICATION OF SHEPPARD MULLIN RICHTER &
                       HAMPTON LLP FOR ALLOWANCE FOR ALLOWANCE AND
 20                    PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
                       EXPENSES FOR THE PERIOD OF AUGUST 21, 2023, THROUGH
 21                    JANUARY 31, 2024
 22
                 Sheppard Mullin Richter & Hampton LLP (hereinafter “SMRH”), co-bankruptcy counsel
 23
      for the Debtor, submits its application (the “SMRH Application”) for first interim allowance of fees
 24
      and reimbursement of expenses for the Application Period as set forth in the Request for Relief
 25
      below. In support of the SMRH Application, SMRH relies on the Declaration of Ori Katz in
 26
      Support of First Interim Fee Application of Sheppard, Mullin, Richter & Hampton LLP, for
 27
      Allowance and Payment of Compensation and Reimbursement of Expenses for the Period of August
 28

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  1   21, 2023, Through January 31, 2024 filed in support of the SMRH Application, and the pleadings

  2   and papers on file in this case, and on such other evidence and argument as may be submitted before

  3   or during the Hearing.

  4            Through the SMRH Application, SMRH requests an Order:

  5            1.    Awarding and allowing interim compensation in the amount of $816,443.60 and

  6   actual and necessary expenses in the amount of $5,679.51 for total allowance in the amount of

  7   $822,123.11;

  8            2.    Approving and ratifying amounts paid by the Debtors to Sheppard Mullin to date in

  9   the aggregate amount of to $271,315.95 on account of the Interim Monthly Fee Statements, which

 10   amount accounts for reimbursement of 100% of expenses incurred and 80% of fees earned during

 11   the Application Period;

 12            3.    Authorizing Sheppard Mullin to draw down on amounts paid by the Debtor on

 13   account of the Interim Monthly Fee Statements but currently are held in trust;

 14            4.    Authorizing the Debtor to pay to Sheppard Mullin the balance due on account of

 15   fees awarded and allowed and reimbursement of expenses incurred as allowed and approved by the

 16   Court,

 17            5.    Granting such other relief that the Court deems just and proper.

 18      III.        FIRST INTERIM APPLICATION OF WEINTRAUB TOBIN CHEDIAK
                     COLEMAN GRODIN LAW CORPORATION FOR ALLOWANCE OF
 19                  FEES AND REIMBURSEMENT OF EXPENSES AS SPECIAL
                     LITIGATION COUNSEL FOR THE DEBTOR IN POSSESSION
 20

 21            Weintraub Tobin Chediak Coleman Grodin Law Corporation, (hereinafter “Weintraub”),

 22   special corporate and litigation attorneys for the Debtor, submits its application (the “Weintraub

 23   Application”) for first interim allowance of fees and reimbursement of expenses for the Application

 24   Period as set forth in the Request for Relief below. In support of the Weintraub Application,

 25   Weintraub relies on the Declaration of Paul E. Gaspari filed in support of the Weintraub

 26   Application, the Declaration of Fr. Patrick Summerhays and the pleadings and papers on file in

 27   this case, and on such other evidence and argument as may be submitted before or during the

 28   Hearing.

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  1          Through the Weintraub Application, Weintraub requests an Order:

  2          1.      Approving on an interim basis Weintraub’s fees in the amount of $58,035.00 and

  3   reimbursement of expenses in the amount of $21,968.44 for a total of $80,003.44 incurred during

  4   the Application Period, and

  5          2.      Authorizing payment to Weintraub by the Debtor of the unpaid balance of the

  6   allowed fees and expenses after application of any retainer.

  7       IV.        FIRST INTERIM APPLICATION OF WEINSTEIN & NUMBERS, LLP
                     FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES
  8                  AS SPECIAL INSURANCE COUNSEL FOR THE DEBTOR IN
                     POSSESSION
  9

 10          Weinstein & Numbers, LLP (hereinafter “W&N”), special corporate and litigation attorneys

 11   for the Debtor, submits its application (the “W&N Application”) for first interim allowance of fees

 12   and reimbursement of expenses for the Application Period as set forth in the Request for Relief

 13   below. In support of the W&N Application, W&N relies on the Declaration of Barron Weinstein

 14   filed in support of the W&N Application, the Declaration of Fr. Patrick Summerhays and the

 15   pleadings and papers on file in this case, and on such other evidence and argument as may be

 16   submitted before or during the Hearing.

 17          Through the W&N Application, W&N requests an Order:

 18          1.      Approving on an interim basis W&N’s fees in the amount of $95,475.50 and

 19   reimbursement of expenses in the amount of $64.07 for a total of $95,539.57 incurred during the

 20   Application Period, and

 21          2.      Authorizing payment to W&N by the Debtor of the unpaid balance of the allowed

 22   fees and expenses after application of any retainer.

 23        V.        FIRST INTERIM APPLICATION OF GLASSRATNER ADVISORY &
                     CAPITAL GROUP, LLC d/b/a B. RILEY ADVISORY SERVICES FOR
 24                  ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES AS
                     FINANCIAL ADVISOR FOR THE DEBTOR
 25

 26          GlassRatner Advisory & Capital Group, LLC d/b/a B. Riley Advisory Services, (hereinafter

 27   “B. Riley”), financial advisor for the Debtor, submits its application (the “B. Riley Application”)

 28   for first interim allowance of fees and reimbursement of expenses for the Application Period as set

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  1   forth in the Request for Relief below. In support of the B. Riley Application, B. Riley relies on the

  2   Declaration of Wayne P. Weitz filed in support of the B. Riley Application, the Declaration of Fr.

  3   Patrick Summerhays and the pleadings and papers on file in this case, and on such other evidence

  4   and argument as may be submitted before or during the Hearing.

  5          Through the B. Riley Application, B. Riley requests an Order:

  6          1.      Approving on an interim basis B. Riley’s fees in the amount of $449,209.75 and

  7   reimbursement of expenses in the amount of $12,864.01 for a total of $462,073.76 incurred during

  8   the Application Period, and

  9          2.      Authorizing payment to B. Riley by the Debtor of the unpaid balance of the allowed

 10   fees and expenses after application of any retainer.

 11       VI.        FIRST INTERIM APPLICATION OF OMNI AGENT SOLUTIONS, INC.
                     FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES
 12                  AS ADMINISTRATIVE AGENT FOR THE DEBTOR IN POSSESSION
 13          Omni Agent Solutions, Inc., (hereinafter “Omni”), pursuant to 11 U.S.C. §§ 105(a), 330,

 14   and 331, and the Order Establishing Procedures and Authorizing Payment of Professional Fees

 15   and Expenses on a Monthly Basis [ECF 212], and the Order (I) Authorizing and Approving the

 16   Appointment of Omni Agent Solutions, Inc. as Claims and Noticing Agent, and (II) Granting

 17   Related Relief [ECF 37], submits its first fee application (the “Omni Application”)1 seeking interim

 18   approval and allowance of compensation and reimbursement of expenses incurred as administrative

 19   advisor to the Debtor for the Application Period as set forth in the Request for Relief below. In

 20   support of the Omni Application, Omni relies on the Declaration of Paul H. Deutch filed in support

 21   of the Omni Application, the Declaration of Fr. Patrick Summerhays and the pleadings and papers

 22   on file in this case, and on such other evidence and argument as may be submitted before or during

 23   the hearing on the Omni Application.

 24          Through the Omni Application, Omni requests an Order:

 25          1.      Approving on an interim basis Omni’s fees in the amount of $23,323.50 Omni did

 26   not incur any expenses as administrative advisor in connection with its Administrative Advisor

 27
      1
 28    Capitalized terms not otherwise defined in this section VI of this notice shall have the same
      meanings ascribed to them in the Omni Application.
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  1   Services to the Debtor during the Application Period, and

  2          2.      Authorizing payment to Omni by the Debtor of the unpaid balance of the allowed

  3   fees and expenses after application of any retainer.

  4   Dated: February 28, 2024              FELDERSTEIN FITZGERALD WILLOUGHBY
                                            PASCUZZI & RIOS LLP
  5

  6                                         By:     /s/ Paul J. Pascuzzi
                                                    PAUL J. PASCUZZI
  7                                                 JASON E. RIOS
                                                    THOMAS R. PHINNEY
  8
                                                    Attorneys for The Roman Catholic Archbishop of
  9                                                 San Francisco
 10
      Dated: February 28, 2024              SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 11

 12                                         By:     /s/ Ori Katz
                                                    ORI KATZ
 13                                                 ALAN H. MARTIN
 14                                                 Attorneys for The Roman Catholic Archbishop of
                                                    San Francisco
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